Case: 1:12-cr-00087 Document #: 1 Filed: 02/06/12 Page 1 of 11 PageID #:1
Case: 1:12-cr-00087 Document #: 1 Filed: 02/06/12 Page 2 of 11 PageID #:2
Case: 1:12-cr-00087 Document #: 1 Filed: 02/06/12 Page 3 of 11 PageID #:3
Case: 1:12-cr-00087 Document #: 1 Filed: 02/06/12 Page 4 of 11 PageID #:4
Case: 1:12-cr-00087 Document #: 1 Filed: 02/06/12 Page 5 of 11 PageID #:5
Case: 1:12-cr-00087 Document #: 1 Filed: 02/06/12 Page 6 of 11 PageID #:6
Case: 1:12-cr-00087 Document #: 1 Filed: 02/06/12 Page 7 of 11 PageID #:7
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Case: 1:12-cr-00087 Document #: 1 Filed: 02/06/12 Page 10 of 11 PageID #:10
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